              Case 3:13-cr-03479-BTM                   Document 162                Filed 05/08/14             PageID.818            Page 1 of 4

                   (Rev. 9/00) Judgment in a Criminal Case
     'Iil>A0245B

                   Sheet 1                                                                                                        FILED
                                             UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA

                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                       v.                                         (For Offenses Committed On or After November 1, 198

                       YVONNE MIHAILESCU [6]                                      Case Number: 13CR3479-BTM
                                                                                   GEORGE GEDULIN
                                                                                  Defendant's Attorney
     REGISTRATION NO. 66767112

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s)..:I;,..;O:;:.F:...:.T.:.;H:.:;E:..:IND~;.:I.::;:C..:T~M:.:E;:;.N.:.;T~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                          Count
     Title & Section                        Nature of Offense                                                                            Number(s)
18:371; 18:981(a)(1)(A),             Conspiracy to commit Mail and Wire Fraud and Money Laundering;
98 1(a)(I)(C), 982(a)(1), and        Criminal Forfeiture
28:2461 (c)




             The defendant is sentenced as provided in pages 2 through _ _..--:4_ _ _ of this judgment. The sentence is imposed pursuant
     to the Sentencing Reform Act of 1984.
     o     The defendant has been found not guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o Count(s)                                                             is   0 areDdismissed on the motion of the United States.
     [81 Assessment: $100.00 To be paid within six (6) months.


     181 No fme                              o   Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ _ , incorporated herein.
              IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitutio~ the
     defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                  MAY 2, 2014
                                                                                  Date of Imposition of Sentence




                                                                                  'HON. BAY TED MOSKOWITZ
                                                                                  UNITED STATES DISTRlCT JUDGE


                                                                                                                   13CR3479-BTM
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            AD 2458 (CASD) (Rev. 8/11)
                         Sheet 2 -- Probation
                                                                                                                    Judgment   Page      2    of    4
            DEFENDANT: YVONNE MIHAILESCU [6]                                                                  a
            CASE NUMBER: 13CR3479-BTM
                                                                            PROBATION
            The defendant is hereby sentenced to probation for a term of:


II
 I
             THREE (3) YEARS.
            The defendont ,hall not ,omm;t onoth" fede"I, "ate, 0,10,,1 ,,;me.
                                                                                                                d .... .~ ;;;&b~.~~
                                                                                                                ~~
 j          For offenses committed on or after September 13, 1994:                                                UNITED STATES DISTRICT JUDGE
i           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
            substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug te~ts
            thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month dunng
            the term of supervision, unless otherwise ordered by court.                                         --

            D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
              future substance abuse. (Check, if applicable.)
                   The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
                   The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
                   Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(aX7) and 3583(d).



            D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                      If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
            restitution in accordance with the Schedule of Payments sheet of this judgment.
                    The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
            also comply with the special conditions imposed .
..~


:~
:1
....                                             STANDARD CONDITIONS OF SUPERVISION
~




~             I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;



I]
              2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
              3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
              4)    the defendant shall support his or her dependents and meet other family responsibilities;
~j            5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                    acceptable reasons;

~...
~
              6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
...           7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
 ~
 ~~
                    substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 -,           8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 ...; l
 ~.~          9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                    a felony, unless granted permission to do so by the probation officer;
 ~~
 .,....      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
 l:i  ~      II)
                    any contraband observed in plain view of the probation officer;
                    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
  j                 officer;
 :~
 :~          12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
 :...!
  ;
                    permission of the court; and
 ;1          13)
  ,"                as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
                    criminal record or personal history or characteristics and shall permit the probation offICer to make such notifications and to confirm
  :1...             the defendant's compliance with such notifIcation requirement .
  :~
  .
       .
       •,

                                                                                                                                              13CR3479-BTM


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        "
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       AD 2458     (Rev. 9100) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                          Judgment-Page ----1- of _....;:.4_ _
       DEFENDANT: YVONNE MlHAILESCU [6]                                                              II
       CASE NUMBER: 13CR3479-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
(gJ Submit person, property,residence, office or vehicle to a search, conducted by a United States Probation Officer at areasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to t


o
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented alien smugglers,
o   Not reenter the United States illegally.
(gJ Not enter the Republic of Mexico without written permission of the Court or probation officer.
(gJ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers ot: or dealers in narcotics, controlled substances, or dangerous drugs in any form.

(gJ Defendant shall notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly,
    including any interest obtained under any other name, or entity, including a trust, partnership, or corporation until restitution is paid in full.



181 Complete 400 hours of Community Service in a program approved by the Probation Officer within 24 months.
I8I ·Provide complete disclosure of personal and business financial records to the probation officer as requested.
~ Pay a restitution to the I.R.S. through the Clerk of Court in the amount of$57011.oo, to be paid in installments of$1,OO per month, jointly and
    severally with codefendants to be identified.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o   Obtain GED or a High school degree within 12 months.
o   Complete 160 hours of community service in a program approved by the probation officer within 18 Months.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ All employment must be pre-approved by the Probation officer.


181 Defendant shall notify the Collections Unit, United States Attorney's Office, before Defendant transfers any interest in property valued over
    $1000 owned directly or indirectly by Defendant, including any interest held or owned under any other name or entity, including trusts,
    partnerships and/or corporations.




                                                                                                                                      13CR3479-BTM
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                      Judgment -   Page --.._4__ of   4

 DEFENDANT: YVONNE MIHAILESCU [6]                                                              a
 CASE NUMBER: 13CR3479-BTM

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_5_7,_0_]l_.OO
                                                                       _ _ _ _ unto the United States of America.

          for the benefit of the Internal Revenue Service through the Clerk of Court.



          This sum shall be paid __ immediately.
                                  " as follows:
            In installments of $ ] 00 per month jointly and severally with codefendants to be identified.




      The Court has determined that the defendant        does not     have the ability to pay interest. It is ordered that:

    K
  -           The interest requirement is waived.

              The interest is modified as follows:




                                                                                                     13CR3479-BTM
